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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                               )     Chapter 11

QUIKSILVER,INC., et al.,                             ) Case No. 15-11880(BLS)

                     D~btors.l                       )     Jointly Administered
                                                           Re: Docket No.


                              ORDER GRANTING
               FIRST QUARTERLY APPLICATION FOR COMPENSATION
                      AND REIMBURSEMENT 4F EXPENSES OF
            PACHULSKI STANG ZIEHL &JONES LLP,AS CO-COUNSEL TO
                 THE DEBTORS AND DEBTORS IN POSSESSION,FOR
         THE PERIOD FROM SEPTEMBER 9,2015 THROUGH llECEMBER 31,2015

                 Pachulski Stang Ziehl &Jones LLP ("PSZ&J"), as co-counsel for the Debtorr (the

"Debtors") iii the above-captioned case, filed its First Quarterly Application for Compensation

and for Reimbursement of Expenses for the Period from September 9, 2015 through December

31, 2015 (the "First Quarterly Application"). The Court has reviewed the First Quarterly

Application and finds that:(a) the Court has jurisdiction over this matter pursuant to 2$ U.S.C.

~§ 1 S7 and 1334;(b) notice of the First Quarterly Application, and any hearing on the First

Quarterly Application, was adequate under the circumstances; and (c) all persons with standing

have been afforded the opportunity to be heard on the First Quarterly Application. Accordingly,

it is hereby




` Tlie Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
Quiksilvef•, Inc.(9426), QS Wholesale, Inc.(8795), DC Direct, Inc.(8364), DC Shoes, Inc.(0965), Fidra, Inc.
(8945), Hawk Designs, lnc.(1121), Mt. Waimea, Inc.(5846), Q.S. Optics, Inc.(2493), QS Retail, Inc.(0505),
Quiksilver Entertainment, Inc.(9667), and Quiksilver Wetsuits, Inc.(9599). The address of the Debtors'
cot•porate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.


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                 ORDERED that the First Quarterly Application is GRANTED,on an interim

basis. The Debtors in the above cases shall pay to PSZ&J the sum of $134,903.00 as

compensation for necessary professional services rendered, and actual and necessary expenses in

the amount of $4,084.09 for a total of $138,987.09 for services rendered and disbursements

incurred by PSZ&J for the period September 9, 2015 through December 31, 201 S, less any

amounts previously paid in connection with the monthly fee applications.

Dated:                       ,2016

                                            The Honorable Brendan L. Shannon
                                            United States Bankruptcy Judge




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